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[Additional counsel on signature pages]
Attorneys for Plaintiffs

                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


 JOSE MORENO, Individually and On Behalf
 of All Others Similarly Situated,

                             Plaintiff,               NOTICE OF ACKNOWLEDGMENT OF
                                                      RECEIPT OF STANDING ORDER IN
         v.                                           CIVIL CASES (DOC. NO. 4)

 POLARITYTE, INC., DENVER LOUGH,
 AND JEFF DYER,

                             Defendants.

                                                      Case No. 2:18-cv-00510-JNP .


        David W. Scofield, as attorney for Plaintiff Jose Moreno (“Plaintiff”), as well as Jeffrey C.

Block and Jacob A. Walker, who are in the process of preparing Applications for admission pro

hac vice, through the undersigned, verify that each of them has received, and has carefully read

and will comply with, the Court’s Standing Order in Civil Cases (Doc. No. 4).

Dated: July 2, 2018                                   Respectfully submitted,
                                                      PETERS š SCOFIELD
                                                      A Professional Corporation

                                                      /s/ David W. Scofield
                                                      DAVID W. SCOFIELD
                                                      Additional Counsel on next page
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